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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

SWIRLATE IP LLC,                            )
                                            )
                Plaintiff,                  )
                                            ) C.A. No. 1:20-cv-01283-CFC
        v.                                  )
                                            ) JURY TRIAL DEMANDED
KEEP TRUCKIN, INC.,                         )
                                            )
                Defendant.                  )
                                            )

                  DEFENDANT KEEP TRUCKIN, INC.’S
             MOTION TO DISMISS UNDER FED. R. CIV. P. 12(b)(6)

        Pursuant to Fed. R. Civ. P. 12(b)(6), Defendant Keep Truckin, Inc.

(“Defendant”) moves to dismiss Plaintiff Swirlate IP LLC’s Original Complaint

for Patent Infringement (D.I. 1) for failure to state a claim upon which relief can be

granted. The grounds for this motion are set forth in Defendant’s Opening Brief,

submitted herewith.




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Respectfully submitted,
                                      GREENBERG TRAURIG, LLP

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Dated: February 15, 2021




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                          CERTIFICATE OF SERVICE

        I, Benjamin J. Schladweiler, hereby certify that on February 15, 2021, I

caused the foregoing Defendant Keep Truckin, Inc.’s Motion to Dismiss Under

Fed. R. Civ. P. 12(b)(6) to be served via electronic mail upon the following

counsel of record:


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                                              /s/ Benjamin J. Schladweiler
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